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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
In re:

NAYDA MARTINEZ                                                     CASE NO. 24-12036-SMG
GUSTAVO CARDENAS                                                   CHAPTER 13
                   Debtors.
_______________________________/

                          EX PARTE MOTION FOR APPROVAL OF
                      PERMANENT LOAN MODIFICATION AGREEMENT

         NewRez LLC d/b/a Shellpoint Mortgage Servicing as servicer for Deutsche Bank National

Trust Company, as Indenture Trustee for Terwin Mortgage Trust 2006-12SL Asset-Backed

Securities, Series 2006-12SL (“Movant”) moves the Court for approval of a permanent loan

modification and states:

         1.        On March 4, 2025, the Debtors executed a Modification Agreement prepared by

Movant in regard to the property located at 4351 SW 22 Street, Fort Lauderdale, FL 33317. A

true and correct copy of the Modification Agreement is attached hereto as Exhibit “A.”

         2.        The proposed essential terms of the Modification Agreement as follows:

              a.    Maturity date: February 1, 2065.
              b.    Principal balance: $151,398.48, with $87,484.08 deferred as further described
                    in the agreement.
              c.    Interest rate: 8.750%
              d.    Monthly payment: $478.01 (principal and interest) which may be adjusted
                    periodically.

         WHEREFORE, Movant, respectfully requests the Court enter an order approving the

Modification Agreement as attached herein and granting such other relief that the Court may

deem just and proper.

                                                              /s/ Gavin N. Stewart
                                                              Gavin N. Stewart, Esquire
                                                              Florida Bar Number 52899
                                                              P.O. Box 5703
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                                                              Counsel for Movant


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing by CM/ECF notice and first

class mail to the parties below this 9th day of April 2025.

                                                              /s/ Gavin N. Stewart
                                                              Gavin N. Stewart, Esquire
                                                              Florida Bar Number 52899
VIA FIRST CLASS MAIL
Nayda Martinez
Gustavo Cardenas
4351 SW 22ND ST
Fort Lauderdale, FL 33317

VIA CM/ECF NOTICE
Jose A. Blanco
Jose A. Blanco, P.A.
102 E 49th ST
Hialeah, FL 33013

Robin R. Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami FL 33130
